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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
               Plaintiff,                   )                     CRIMINAL ACTION
v.                                          )
                                            )                     No. 09-20034-KHV
TAURINO CERECERES-MORALES,                  )
JUAN MORALES and JESUS ROBLES,              )
                                            )
               Defendants.                  )
____________________________________________)

                                              ORDER

       This matter is before the Court on the letter (Doc. #95) from all three defendants received

November 16, 2009, which the Court construes as a pro se motion to review prior counsel’s conduct.

The Court overrules defendants’ pro se motion because they are represented by counsel who did not

sign the motion. See Fed. R. Civ. P. 11 (every pleading, written motion and other paper shall be signed

by at least one attorney of record); United States v. Sandoval-DeLao, 283 Fed. Appx. 621, 625 (10th

Cir. 2008) (no error in refusal to consider pro se motion when defendant represented by counsel);

United States v. Castellon, 218 Fed. Appx. 775, 780 (10th Cir. 2007) (if criminal defendant represented

by counsel, court does not accept pro se filings or allegations); United States v. McKinley, 58 F.3d

1475, 1480 (10th Cir. 1995) (no constitutional right to “hybrid form of representation”).

       IT IS THEREFORE ORDERED that the letter (Doc. #95) from all three defendants received

November 16, 2009, which the Court construes as a pro se motion to review prior counsel’s conduct,

be and hereby is OVERRULED.

       Dated this 24th day of November, 2009, at Kansas City, Kansas.

                                                     s/ Kathryn H. Vratil
                                                     KATHRYN H. VRATIL
                                                     United States District Judge
